              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


PACE-O-MATIC, INC.,     :
                        :
             Plaintiff  :               No. 1:20-cv-00292
                        :
        v.              :               (Judge Jennifer P. Wilson)
                        :               (Magistrate Judge Joseph F. Saporito, Jr.)
ECKERT SEAMANS CHERIN :
& MELLOTT, LLC,         :
                        :               Electronically Filed Document
             Defendant. :



  BRIEF OF HAWKE MCKEON & SNISCAK, LLP IN SUPPORT OF
MOTION FOR A PROTECTIVE ORDER AND/OR MOTION TO QUASH
                      SUBPOENA
       Hawke McKeon & Sniscak, LLP (HMS) submits this brief in support of its

Motion for a Protective Order and/or Motion to Quash the subpoena to produce

documents served upon HMS (HMS subpoena) by Plaintiff in the above-captioned

matter, Pace-O-Matic, Inc (POM).


  I.      Introduction and Summary

       Pursuant to Fed. R. Civ. P. 26(c) and/or Fed. R. Civ. P. 45(d)(3)(A)(iii), HMS

hereby moves this Court for a protective order and/or order quashing the HMS

subpoena served by POM upon HMS.




                                          1
      HMS seeks relief before this Court because HMS had the apparent temerity

to agree to step in as conflict counsel and to file an amicus brief in a matter initiated

by POM in Pennsylvania Commonwealth Court. HMS has compounded further its

annoyance of POM by acting as counsel to a group of entities which operate legal

gaming devices in Pennsylvania and seeking to intervene in POM’s Commonwealth

Court cases. HMS has no involvement whatsoever in the dispute between POM and

Defendant Eckert in the above-captioned matter (POM/Eckert litigation). That

salient fact notwithstanding, HMS now finds itself before this Court defending

against a subpoena that seeks the same information POM sought from Eckert in the

instant matter and, which on its face seeks documents protected by the attorney-

client privilege, the attorney work-product doctrine, or both.

      Given the dispute in progress between Eckert and POM in which POM seeks

the same or similar privileged information, there is no reason for POM to burden

needlessly HMS with the duty to respond to meritless subpoenas for information that

is so obviously privileged and irrelevant to any of the claims in the POM/Eckert

litigation. As is obvious from its face, POM’s HMS subpoena seeks documents

wholly unrelated to that litigation to which POM lacks even a pretense of gaining

access. As such, it is reasonable to conclude that, aside from punishing HMS for

becoming involved in POM’s Commonwealth Court case, the HMS subpoena was

issued with the apparent intent to unfairly advantage POM in those cases. This Court


                                           2
should end POM’s fishing expedition and issue a protective order and/or quash the

HMS subpoena.


   II.      Procedural History

         POM served the HMS subpoena on or about June 4, 2020 with a return date

of June 15, 2020 (Attachment 1 hereto). HMS is not a party to the POM/Eckert

litigation. The POM/Eckert litigation involves POM’s claim that Defendant Eckert

breached a fiduciary duty to POM by representing Greenwood Gaming &

Entertainment, Inc. d/b/a Parx Casino (Parx), in matters related to devices that POM

calls “skill games.”

         HMS timely objected to the HMS subpoena by letter dated June 13, 2020 and

emailed to POM counsel Donna Walsh (Attachment 2 hereto). Therein, HMS

advised attorney Walsh that the documents sought via the HMS subpoena all involve

and constitute work product prepared on behalf of Parx that is protected from

disclosure under the attorney work-product doctrine and/or are protected by

attorney-client privilege. The undersigned as HMS counsel subsequently discussed

the subpoena and HMS’ objections thereto with POM counsel Daniel T. Brier but

was unable to resolve POM’s demand for the documents or HMS’ objections thereto.

         POM, Eckert, Parx and HMS filed letters with Judge Wilson explaining their

positions (HMS’ letter is Attachment 3 hereto). Subsequently, POM, Eckert, Parx

and HMS participated in a conference call with Magistrate Judge Saporito, Jr., to


                                          3
discuss POM’s discovery directed to Eckert, Parx and HMS. Following the call,

Judge Saporito on June 25, 2020 issued an order directing that all discovery motions

together with supporting briefs shall be filed on or before July 20, 2020, and that any

motions asserting privilege shall be supported by appropriate privilege logs.1 Briefs

in response are due on or before August 7, 2020.


     III.   Statement of Facts

        POM initiated litigation in the Commonwealth Court of Pennsylvania against

the Pennsylvania Department of Revenue and the City of Philadelphia (Docket No.

418 MD 2018) and against the Pennsylvania State Police, Bureau of Liquor Control

Enforcement (Docket No. 502 MD 2018) seeking declarations concerning the legal

status of its so called “skill games” and preliminary injunctive relief, which litigation

is active and ongoing (Commonwealth Court cases).

        HMS represents Parx in the Commonwealth Court cases. That representation

commenced upon referral from Eckert due to Eckert’s alleged conflict with POM

which is the subject of the POM/Eckert litigation. HMS filed an amicus brief on

Parx’ behalf opposing POM’s request for preliminary injunction in Docket No. 502

MD 2018, and presently has pending requests on behalf of a group of operators of

legal gaming devices to intervene in both Commonwealth Court cases.



1
    HMS’ privilege log is Attachment 4 hereto.

                                           4
      POM’s HMS subpoena commands HMS to produce: (1) any document that

reflects communications between HMS and Eckert relating to the Commonwealth

Court cases; (2) any document HMS received from Eckert for use or reference

relating to the Commonwealth Court cases; (3) any communications between HMS

attorney Kevin J. McKeon or any other HMS employee and any person at Eckert

relating to either the Commonwealth Court cases or the POM/Eckert litigation; and

(4) any communications or documents relating to any potential or actual conflict

between Eckert and POM.

      POM propounded discovery requests to Eckert seeking the same or similar

information from Eckert, to which Eckert has already objected, which objections

remain unresolved. HMS informed Parx of the HMS subpoena (Parx also has

received a subpoena seeking similar information to which Parx is objecting through

separate counsel).

      Parx directed HMS to take any necessary steps to object to the HMS subpoena

in order to protect the confidentiality and privacy of communications between Parx

and its lawyers, and the confidentiality of legal advice that Parx’s lawyers and law

firms provided to Parx to which the attorney-client privilege or any other privilege

attaches. All the document requests in the HMS subpoena are immune from

production under one or more of these protections.




                                         5
   IV.       Statement of Questions Involved

        1.     Should this Court issue a protective order and/or quash the HMS

subpoena where the documents sought all involve and constitute work product

prepared on behalf of Parx that is protected from disclosure under the attorney work-

product doctrine and/or are protected by the attorney-client privilege?

        2.     Should this Court issue a protective order and/or quash the HMS

subpoena where POM propounded discovery requests to Eckert seeking the same or

similar information from Eckert, to which Eckert has already objected, which

objections remain unresolved, and where there is no reason for POM to burden

needlessly HMS with the duty to respond to meritless subpoenas for information that

is so obviously privileged and irrelevant to any of the claims in the POM/Eckert

litigation?


   V.        Argument

             A. This Court should enter a protective order forbidding POM
                disclosure or discovery of the HMS documents protected by the
                attorney-client privilege and/or the work-product doctrine.

        Under Fed. R. Civ. P. 26(b)(1), parties may obtain discovery regarding any

nonprivileged matter that is relevant to any party’s claim or defense. Fed. R. Civ. P.

26(c)(1) provides that any person from whom discovery is sought may seek a




                                          6
protective order.2 This Court may, for good cause, issue an order to protect HMS

from being forced to produce documents that are protected by the attorney-client

privilege and/or the attorney work-product doctrine and to protect HMS from the

annoyance and undue burden of producing documents that are so obviously

privileged and irrelevant to any of the claims in the POM/Eckert litigation. Fed. R.

Civ. P. 26(c)(1)(A).

      A party claiming a communication is privileged must set forth facts showing

the privilege was properly invoked. In this regard, the moving party claiming

attorney-client privilege must prove four elements: 1) the asserted holder of the

privilege is or sought to become a client; 2) the person to whom the communication

was made is a member of the bar of a court, or their subordinate; 3) the

communication relates to a fact of which the attorney was informed by his client,

without the presence of strangers, for the purpose of securing either an opinion of

law, legal services or assistance in a legal matter, and not for the purpose of

committing a crime or tort; and, 4) the privilege has been claimed and is not waived.

Bousamra v. Excela Health, 210 A.3d 967 (Pa. 2019). Upon that showing, the

burden shifts to the party seeking disclosure, which must explain why the

communication at issue should not be privileged. Id.



2
  The required certification that HMS has in good faith conferred with POM to
resolve this dispute without court action is included in HMS’ motion.

                                         7
       Here, the documents sought by POM through the HMS subpoena are

privileged. HMS has a duty of confidentiality to Parx under Rule 1.6 of the

Pennsylvania Rules of Professional Conduct to protect such communications, which

duty extends to lawyer-client communications about conflicts of interest as required

by Rules 1.7 through 1.10. The communications involve legal advice that Parx’

lawyers and law firms provided to Parx to which the attorney-client privilege

attaches. See Attachment 4 HMS privilege log. HMS has preserved and has not

waived any privilege claims.

       Moreover, the communications involve and constitute work product prepared

on Parx’ behalf that is protected from disclosure under the attorney work-product

doctrine. The Supreme Court long ago recognized the concept of work-product

protection in Hickman v. Taylor, 329 U.S. 495 (1947). Fed. R. Civ. P. 26(b)(3)

defines work-product as: 1) documents or other tangible things; 2) that were

prepared by or for a party or the party’s representative; 3) in anticipation of litigation.

       Discovery of work-product materials is limited to where the requesting entity,

here POM, can show substantial need for those materials and undue hardship if

access is denied. Fed. R. Civ. P. 26(b)(3)(A). However, where, as here, the materials

contain the attorney’s mental impressions, the ordinary showing of need and

hardship are insufficient, and disclosure will be required only under rare and extreme




                                            8
circumstances. Fed. R. Civ. P. 26(b)(3)(b); Upjohn Co. v. U.S. 449 U.S. 383, 400-

401(1981).

      The attached privilege log establishes that the identified documents meet each

of the elements for establishing protection under the work-product doctrine. Emails

are “documents and tangible things.” In re EchoStar Communications Corp., 448

F.3d 1294, 1301 (Fed. Cir. 2006). By the very mechanism of HMS becoming

involved in the Commonwealth Court cases, as conflict counsel asked to file an

amicus brief and now as counsel for a group potential intervenors who operate legal

gaming devices, the “in anticipation of litigation” element is met.

      So too is the “by or for the party or party’s representative” element. The

documents identified in the privilege log were prepared either by HMS as counsel

to Parx and/or the potential intervenors3, by Parx and/or the potential intervenors

either alone or in combination with HMS, or by Eckert and/or HMS preparatory to

Eckert handing off the Parx representation to HMS.

      The HMS subpoena also is overly broad and unduly burdensome because it

seeks documents wholly unrelated to the POM/Eckert litigation to which POM lacks




3
  Communications which form part of an “ongoing and joint effort to set up a
common [litigation] strategy” are protected from disclosure. Eisenberg v. Gagnon,
766 F. 2d 770, 787 (3d. Cir.), cert denied, 474 U.S. 946 (1985): Andritz Sprout-
Bauer v. Beazer-East, Inc., 174 F.R.D. 609 (M.D. Pa. 1997).

                                          9
even a pretense of gaining access, with the apparent intent to unfairly advantage

POM in the Commonwealth Court cases.

      Given the dispute in progress between Eckert and POM in which POM seeks

the same or similar privileged information, there is no reason for POM to burden

needlessly HMS with the duty to respond to meritless subpoenas for information that

is so obviously privileged and irrelevant to any of the claims in the POM/Eckert

litigation. For these reasons, this Court should enter a protective order barring POM

from requiring production of the identified documents.

          B. This Court should quash the HMS subpoena where Fed. R. Civ. P.
             45(d)(3)(A)(iii) precludes the disclosure of “privileged or other
             protected matter to which no exception or waiver applies.”

      Fed. R. Civ. P. 45(d)(3)(A)(iii) precludes the disclosure of “privileged or other

protected matter to which no exception or waiver applies.” As detailed above, all the

documents requested in the HMS subpoena are privileged because the requests seek

communications between and among Parx’ lawyers at Eckert, Parx’ lawyers at

HMS, and Parx. Under Rule 45(d)(3)(A)(iii) this Court must quash the HMS

subpoena as no exception or waiver applies. To the extent the documents related to

the Commonwealth Court cases are not relevant to any of POM’s claims in the

POM/Eckert litigation, and therefore can only be aimed at garnering an untoward

litigation advantage in those cases, Fed. R. Civ. P. 45(d)(3)(A)(iv) requires that this

Court quash the HMS subpoena where it presents an undue burden on HMS.


                                          10
   VI.   Conclusion

      WHEREFORE, for the aforestated reasons, this Court should enter a

protective order relieving HMS of the burden and duty of responding to meritless

subpoenas for information that is so obviously privileged and irrelevant to any of the

claims in the POM/Eckert litigation order and/or enter an order quashing the HMS

subpoena where all of the document requests in the HMS subpoena are immune from

production under the attorney client privilege and/or the attorney work product

doctrine, and the subpoena presents an undue burden on HMS.



                                    Respectfully submitted,

                                    /s/ Dennis A. Whitaker

                                    Dennis A. Whitaker, I.D. #53975
                                    Hawke McKeon & Sniscak, LLP
                                    100 North Tenth Street
                                    Harrisburg, PA 17101
                                    (717) 236-1300
                                    (717) 236-4841
                                    dawhitaker@hmslegal.com

                                    Counsel for Hawke McKeon & Sniscak, LLP

Dated: July 20, 2020




                                         11
                       CERTIFICATION OF COUNSEL

The undersigned certifies, subject to Fed. R. Civ. P. 11, that the foregoing brief

contains 2,203 words and, therefore, complies with the word-count limit set forth

by Local Rule 7.8(b). This certification is based upon the word count feature of

Microsoft Word, the software used to prepare the brief.



                                              /s/ Dennis A. Whitaker

                                              Dennis A. Whitaker

Dated: July 20, 2020




                                         12
                          CERTIFICATE OF SERVICE


I hereby certify that, on July 20, 2020, I electronically filed the foregoing

document with the Clerk of the Court for the United States Court District Court

for the Middle District of Pennsylvania by using the ECF system. Pursuant to

LR 5.7, participants in the case who are registered ECF users will be served by

the ECF system.

                                               /s/ Dennis A. Whitaker




                                           5
